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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                        ) CASE NO: CR 14-00149 RS
                                                      )
14           Plaintiff,                               ) STIPULATION TO VACATE SENTENCING AND
                                                      ) [PROPOSED] ORDER
15      v.                                            )
                                                      )
16   IMRAN HUSAIN,                                    )
                                                      )
17           Defendant.                               )
                                                      )
18                                                    )

19           Sentencing for defendant is currently set for October 24, 2017, at 2:30 p.m. The parties have
20 previously stipulated to continue this sentencing several times. As explained in prior stipulations,

21 defendant entered into a cooperation agreement with the government and his cooperation is continuing

22 as part of the government’s ongoing investigation into securities fraud and obstruction of the Securities

23 and Exchange Commission by defendant and other individuals, including Gregg Jaclin.

24           On May 18, 2017, Gregg Jaclin was indicted for conspiracy, securities fraud, false SEC filings,
25 concealment of material facts from a government agency, false statements, and obstruction, all as part of

26 an overarching scheme and conspiracy in which Jaclin and Husain participated together. United States

27 v. Gregg Jaclin, CR 17-281 RS, Dkt. 1. On August 31, 2017, this Court related United States v. Jaclin

28 to United States v. Husain. CR 17-281 RS, Dkt. 22. A status conference is scheduled before this Court

     STIPULATION AND [PROPOSED] ORDER TO VACATE SENTENCING
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 1 for Jaclin on November 7, 2017.

 2          Husain’s cooperation is part of the case against Jaclin. Under the terms of his cooperation plea

 3 agreement, Husain is required to continue to aid the government in the prosecution of Jaclin and testify

 4 at trial, and the government expects that he will do so should Jaclin’s case go to trial. Therefore, the

 5 parties jointly request that Husain’s sentencing date be vacated at this time, and a status conference be

 6 set for April 24, 2018. Should Jaclin’s case conclude or be resolved in advance of that date, the parties

 7 will meet and confer to request a date for sentencing.

 8          IT IS SO STIPULATED.

 9
     Dated: October 2, 2017                                      /s/
10                                                        BENJAMIN KINGSLEY
                                                          Assistant United States Attorney
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12
     Dated: October 2, 2017                                     /s/
13                                                        GEORGE NEWHOUSE
                                                          Counsel for Defendant Imran Husain
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     STIPULATION AND [PROPOSED] ORDER TO VACATE SENTENCING
     CR 14-00149 RS                          1
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 1
                                             [PROPOSED] ORDER
 2
            The sentencing hearing scheduled for October 24, 2017, at 2:30 p.m. is vacated. A status
 3
     conference is scheduled for April 24, 2018, at 2:30 p.m.
 4
            IT IS SO ORDERED.
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 6
     Dated: 10/2/17                _
 7                                                              HON. RICHARD SEEBORG
                                                                UNITED STATES DISTRICT JUDGE
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     STIPULATION AND [PROPOSED] ORDER TO VACATE SENTENCING
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